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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

MARCUS J. MOORE,

                     Plaintiff,

v.                                                     Case No. 1:22-cv-00010-AMP

DONALD J. TRUMP,

                     Defendant.


                            REPLY IN SUPPORT OF
                       DEFENDANT’S MOTION TO DISMISS

      Plaintiff relies on the Court’s recent opinion in Blassingame v. Trump and its

related cases in opposing President Trump’s motion to dismiss. See Mem. Op. & Order

at 23–26, Blassingame v. Trump, No. 21-858 (D.D.C. 2022), ECF No. 37. As he

correctly notes, those cases are on appeal. Blassingame et al. v. Trump, No. 22-5069

(D.C. Cir. 2022). The Court should not rely on the decision in the related cases,

however, because it is incorrect. Indeed, the Court declined to follow the Supreme

Court’s clear dictates from Nixon v. Fitzgerald, 457 U.S. 731 (1982), and instead cited

Clinton v. Jones, 520 U.S. 681 (1997), in concluding that presidential immunity is

strictly functional in nature. Id at 26-27.

      In truth, Clinton v. Jones sheds very little light on the dispute before the Court

today. The subject of that suit was Paula Jones’s allegations that Bill Clinton sexually

assaulted her. Id. at 685. That conduct is easily classified as unofficial both because

of the purely private or unofficial nature of the alleged action—sexual assault—and

the timing—it indisputably took place before Clinton assumed the office of President.


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      Although, as the Blassingame decision noted, the Fitzgerald court held that

presidential immunity is “a functionally mandated incident of the President’s unique

office, rooted in the constitutional tradition of the separation of powers,” the

substance of Fitzgerald’s reasoning described a broader immunity. Nixon v.

Fitzgerald, 457 U.S. 731, 749 (1982). The Court rejected “an inquiry into the

President’s motives,” which would be unavoidable “under the kind of ‘functional’

theory asserted both by respondent and the dissent.” Id. at 756.

       The Fitzgerald Court reasoned that because the President holds such “a

unique office” in our system of government, and because “[t]here are incidental

powers, belonging to the executive department, which are necessarily implied from

the nature of the functions confided to it,” id. at 748-49, the functions merge into a

capacious immunity sufficient to cover most of the activity of a President so long as

he undertakes the activity as President. This far broader interpretation is aptly,

albeit critically, explained by the dissent, which bemoans that the majority

abandoned the stricter functional approach. Id. at 770 (White, J., dissenting). The

dissent’s preference is the too narrow interpretation employed by the district court in

Blassingame.

      On January 6, 2021, Donald Trump was the sitting President of the United

States and he appeared at the rally in his capacity as President. This was far from a

private or unofficial action. He spoke to supporters about the state of the nation,

election integrity, and the Constitution. His actions were well within the “outer

bounds” of presidential activity that is covered by immunity as currently defined by



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the Supreme Court. The Blassingame opinion presented an interpretation of

functional immunity that failed in Fitzgerald.



Dated: March 31, 2022                        Respectfully submitted,

                                             /s/ Jesse R. Binnall
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                           CERTIFICATE OF SERVICE


      I certify that on March 31, 2022, a copy of the foregoing was filed with the Clerk

of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

of record.



                                              /s/ Jesse R. Binnall
                                              Jesse R. Binnall

                                              Attorney for Donald J. Trump




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